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UNITED STATES DISTRICT COURT |
_ EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA, | Case No. 16-cr-20439
| Plaintiff, : fo Hon. Matthew F. Leitman
ve / os _ Offense: Structuring Financial Transactions

ee (31 U.S.C. § 5324)
CYNTHIA FLOWERS, | |

Defendant.

 

 

~. WAIVER OF INDICTMENT

CYNTHIA FLOWERS, the above named defendant, who is accused of
Structuring Financial Transactions, in violation of 31 U.S.C. § 5324, being advised
of the nature of the charge and her rights, hereby waives in open court prosecution
by indictment and consents that, for the purpose of entering a plea, the proceeding
may be by information instead of by indictmes¢t.

 

 

l See FLOWERS
éfendant —
JUL 13 206 | oe
CLERK'S OFFICE
‘EASTERN Micah O WLEDGMENT OF DEFENSE COUNSEL

I acknowledge that I am counsel for gefendant a and that I have received a copy
of the Standing Order for Discovery and Inspeet} f which requires all pre-trial
motions to be filed within twenty (20)days jof Arraignment.

   
   

 

ALLISON FOLMAR

Counsel for the defendant _,

Date: July 13, 2016
